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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK
                                 Central Islip Division

                                              )
 MARISSA J. LONARDO,                          )
                                              )
        Plaintiff,                            )
                                              )
                v.                            )       No. 2:19-cv-04907 (DLI/RML)
                                              )
 CHOSEN FEW EMERALD                           )
 ENTERTAINMENT, INC., et al.,                 )
                                              )
        Defendants.                           )
                                              )


                       NOTICE OF WITHDRAWAL OF COUNSEL

       PLEASE TAKE NOTICE that Kevin J. Shehan, Esq., the undersigned counsel, has

changed law firms and no longer represents Plaintiff Marissa J. Lonardo, who remains represented

by Tully Rinckey, PLLC.



 Dated: July 23, 2020                                        Respectfully submitted,
        New York, NY
                                                             /s/ Kevin J. Shehan, Esq.

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